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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

PATRICK ENGLERT, D/B/A PERFECT            )
HEALTH,                                   )
                                          )
            Plaintiff,                    )
                                          )
      vs.                                 )        Case No. 4:17-cv-00993-AGF
                                          )
BEAUTY FIT, INC.,                         )
                                          )
            Defendant.                    )

                              ORDER OF DISMISSAL

      Pursuant to the Memorandum and Order issued herein on this day,

      IT IS HEREBY ORDERED that this case is DISMISSED without prejudice.



                                         _______________________________
                                         AUDREY G. FLEISSIG
                                         UNITED STATES DISTRICT JUDGE

Dated this 9th day of November, 2017. 
